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                       UNITED STATES DISTRICT CO URT
                       SO UTHERN DISTRICT O F FLORIDA
                         CASE NO .:1:17-cv-20459-KMW

  DESIREE MA RENGO ,
  etaI.,

        Plaintil,



  M IAM IRESEARCH ASSO CIATES,LLC,

        Defendant.
                                                  /

                    O RDER G RANTING FINAL APPROVA L O F
                CLASS ACTIO N SETTLEM ENT AND FINAL JUDG M ENT

        THIS MATTER is before the Coud on the Padies'jointmotionforfinalapprovalof
  settlement.(DE 48). On December18,2017,this Coud granted preliminary approvalto
  the proposed class action settlem ent set fodh in the Stipulation and Settlem ent

  Agreement(the ''SettlementAgreement'')between PlaintiffDesiree Marengo t'lplaintif l,
  on behalf of herself and aIImem bers ofthe Settlem ent Class,l and Defendant M iam i

  ResearchAssociates,LLC (''MRA'')(collectively,the ''Padies'')(DE 44). The Coud also
  provisionally cedified the Settlem ent Class for settlem ent purposes and approved the

  procedure forgiving ClassNotice to the SettlementClass Members. (DE 44).
        In an Orderdenying withoutprejudice the Motion forFinalApproval,Judge King
  ordered the Padies to subm itadditionaldocum entation addressing various aspects ofthe

  proposed settlement.z (DE 56). On July 13,2018,Plaintiffsubm itted a supplemental

  1 Unless otherwise defined,capitalized terms in this Orderhave the definitions found in
  the SettlementAgreem ent.
  2 On April18,2018,the Honorable Jam es Lawrence King,w ho presided overthe case
  previously, entered an order advising that Chief Judge K. M ichaelM oore would be
  presiding overthe Fairness Hearing.(DE 52).OnApril26,2018,the Padiesattended the
  Fairness Hearing before ChiefJudge M oore.O n June 7,2018,Judge King entered an
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  memorandum providing the additionalinformation required bythe Coud'sorder.(DE 64.
                                                                                  ,
  DE 65).
        Upon a review ofthe M otion forFinalApproval,the supplementalm emorandum ,

  and the entire record in this m atter,i
                                        tis ORDERED AND ADJUDG ED THAT:

        JURISDICTIO N O F THE COURT

        1.     The Coud has personaljurisdiction overthe padies and the Settlement
  ClassMembers,venue isproper,and the Coud hassubjectmatterjurisdictionto approve
  the Settlem entAgreem ent,including aIIExhibits thereto,and to enterthis FinalOrderand

  Judgm ent.W ithoutin any way affecting the finality ofthis FinalO rderand Judgment,this

  Coud hereby retains jurisdiction as to aIl m atters relating to administration,
  consum m ation,enforcem ent,and interpretation ofthe Settlem entAgreem entand ofthis

  FinalO rderand Judgm ent,and forany othernecessary purpose.

        2.     The Settlem entAgreem entwas negotiated atarm 's Iength by experienced

  counselwho were full
                     y informed ofthe facts and circumstances ofthis Iitigation (the
  ''Litigation''orthe 'd
                       Action'
                             ')and ofthe strengths and weaknesses oftheir respective
  positions. The Settlem entAgreem ent was reached afterthe Padies had engaged in

  m ediation and extensive settlem entdiscussions and afterthe exchange of inform ation,

  including information aboutthe size and scope ofthe Settlem entClass. Counselforthe

  Padies were therefore well positioned to evaluate the benefi
                                                             ts of the Settlement

  Agreem ent,taking into accountthe expense,risk,and uncertainty ofprotracted litigation.



  Orderdenying withoutprejudice the Motion for FinalApproval.(DE 56). Judge King
  requested the following additionalinformation:(1)the effod exeded to reach Settlement
  ClassMembers'  ,(2)the processusedto verifyclaim s,and whyonly211totalclaimswere
  approved',(3)Defendant's financialinability to fund a class settlement'
                                                                        ,(4)a breakdown
  ofthe time spentby the SettlementAdministrator'   ,and (5)the reasonableness ofClass
  Counsel's fee request. Id.
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        3.     The Coud finds thatthe prerequisites fora class action underFed.R.Civ.

  P.23 have been satisfied forsettlem entpurposes foreach Settlem entClass M em berin

  that: (a)the numberofSettlementClass Members is so numerous thatjoinderofaII
  membersthereofis impracticable'
                                ,(b)there are questions ofIaw and factcommon to the
  SettlementClass;(c)the claims ofPlaintiffare typicalofthe claims ofthe Settlement
  Class she seeks to represent'
                              ,(d)Plainti
                                        ffhas and willcontinue to fairly and adequately
  represent the interests of the Settlement Class for purposes of entering into the

  SettlementAgreement'
                     ,(e)the questionsofIaw andfactcommontothe SettlementClass
  M em bers predom inate over any questions affecting any individualSettlem ent Class

  Member,
        '(9 the SettlementClass is ascedainable;and (g)a class action is superiorto
  the otheravailable methodsforthefairand efficientadjudication ofthe controversy.
  II.   CERTIFICATIO N O F SETTLEM ENT CLASS

        4.     Pursuant to Fed. R. Civ. P. 23, this Court hereby finally certi
                                                                             fies the

  SettlementClass,asidentified in the SettlementAgreement:AIIpersons (i)identified in
  the SettlementClass List(ii)who received a textmessage from MRA relating to the
  bird flu vaccine study (''fIu study'')(iii)between June 1,2016 and February 1,2017.
  Persons meeting this definition are referenced herein collectively as the ''Settlem ent

  Class,'and individually as ''Settlem entClass M em bers.''

        Notwithstanding the foregoing,this class specifically excludes persons in the

  following categories:(A)individuals who are orwere during the Class Period officers
  or directors of MRA or any of its respective affiliates'
                                                         , (B) the district judge and
  magistrate judge presiding overthis case,the judges ofthe United States Coud of
  Appeals forthe Eleventh Circuit,theirspouses,and persons within the third degree of

  relationship to eitherofthem ;and (C)aIIpersons who file a timely and properrequest
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  to be excluded from the SettlementClass in accordance with Section III(D)(1)ofthe
  Settlem entAgreem ent.

  111.   A PPO INTM ENT O F CLASS REPRESENTATIVES AND C LASS COUNSEL

         5.    The Coud finally appoints attorneys ManuelHiraldo ofHiraldo P.A.,Andrew

  Sham is ofSham is & Gentile,P.A.and Seth Lehrm an ofEdwards PottingerLLC as Class

  Counselforthe SettlementClass.

         6.    The Coud finally designates Plaintiff Desiree Marengo as the Class

  Representative.

  IV.    NO TICE A ND CLAIMS PROCESS

               The Coud m akes the follow ing findings on notice to the Settlem entClass:

               (a)    The Courtfindsthatthe distribution ofthe Class Notice,as provided
  forin the SettlementAgreement,(i)constituted the bestpracticable notice underthe
  circumstancesto SettlementClass Members,(ii)constituted notice thatwas reasonably
  calculated,underthe circum stances,to apprise Settlem entC lass M em bers of,am ong

  otherthings,the pendency ofthe Action,the nature and term softhe proposed Settlem ent,

  theirrightto objectorto excludethemselvesfrom the proposed Settlement,andtheirright
  to appear at the FinalApprovalHearing, (iii) was reasonable and constituted due,
  adequate,and sufficientnotice to aIIpersons entitled to be provided with notice,and (iv)
  com plied fully with the requirem ents ofFed.R.Civ.P.23,the United States Constitution,

  the Rules ofthis Coud,and any otherapplicable Iaw .

               (b) The Courtfinds thatthe Class Notice and methodology setforth in
  the Settlement Agreem ent,the Prelim inary ApprovalO rder,and this FinalO rder and

  Judgment(i)consti
                  tute the mosteffective and practicable notice ofthe FinalOrderand
  Judgm ent,the reliefavailable to Settlem entClass M em bers pursuantto the FinalO rder
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  and Judgment,and applicable time periods'
                                          ,(ii)constitute due,adequate,and sufficient
  notice foraIIotherpurposesto alISettlementClass Members;and (iii)com pl
                                                                        y fullywith
  the requirem ents ofFed.R.Civ.P.23,the United States Constitution,the Rules ofthis

  Coud,and any otherapplicable Iaws.

  V.    FINAL APPROVA L O F THE CLASS ACTIO N SETTLEM ENT

        8.     The Settlem ent Agreem ent is finally approved in aII respects as fair,

  reasonable and adequate. The term s and provisions of the Settlem ent Agreem ent,

  including aIIExhibits thereto,have been entered into in good faith and are hereby fully

  and finall
           y approved as fair,reasonable,and adequate as to,and in the bestinterests of,

  each ofthe Padies and the Settlem entClass Mem bers.

  Vl.   A DM INISTRATIO N O F THE SETTLEM ENT

        9.     The Padies are hereby directed to im plem entthe SettlementAgreem ent

  according to itsterms and provisions. The Settlem entAdm inistratoris directed to provide

  Claim Settlem entPaym entsto those SettlementClass M em bersw ho subm itvalid,tim ely,

  and com plete Claim s.

               The Coud hereby approves Class Counsel's request for attorney fees,

  costs,and expenses.The Settlem entAdm inistratorshallpay Class Counselthe am ount

  of$390,000 as reasonable attorneys'fees,inclusive ofthe award ofreasonable costs
  incurred in this Action,in the m annerspecified in the Agreem ent. The Courtfinds that

  the requested fees are reasonable underthe percentage-of-the fund forthe reasons set

  fodh herein. The award ofattorneys'fees and costs to Class Counselshallbe paid out

  ofthe Settlement Fund w ithin the tim e period and m anner setfodh in the Settlem ent

  Agreement.



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         11.    The Coud hereby awards Class Counsel for their tim e incurred and

  expenses advanced. The Coud has concluded that:(a) Class Counselachieved a
  favorable resultforthe Class by obtaining M RA'S agreementto m ake significantfunds

  available to SettlementClass Members,subjectto subm ission ofvalid claims by eligible
  SettlementClass Members'
                         ,(b)ClassCounseldevotedsubstantialeffodto pre-and post-
  filing investigation, Iegal analysis, and Iitigation'
                                                      , (c) Class Counsel prosecuted the
  Settlement Class's claim s on a contingent fee basis, investing significant tim e and

  accum ulating costs with no guarantee thatthey would receive com pensation for their

  servicesorrecovertheirexpenses'
                                ,(d)Class Counselemployed theirknowledge ofand
  experience with class action Iitigation in achieving a valuable settlement for the

  Settlement Class,in spi
                        te of M RA'S possible Iegaldefenses and its experienced and

  capable counsel'
                 ,(3) Class Counsel have standard contingent fee agreements with
  Plaintiff, who has reviewed the Settlem ent Agreement and been inform ed of Class

  Counsel's fee requestand has approved'
                                       ,and (9 the Class Notice informed Settlement
  Class Mem bers ofthe am ountand nature ofClass Counsel's fee and costrequestunder

  the Settlement Agreement, Class Counselfiled and posted tkt(yir F7(ytititlr! irl tirïle, ftlr

  SettlementClass Members to make a meaningfuldecisiononwhetherto objectto Class
  Counsel'sfee request,and no SettlementClass Memberls)objected.
         12.    In addition,the Coud has applied the factors adiculated in Johnson v.

  Georgia HighwayExpr,Inc.,488 F.2d 714 (5thCir.1974),to confirm the reasonableness
  offees and costs requested.The courtfinds and concludes thatthe following applicable

  Johnson factors suppod the requested award ofattorneys'fees and costs:

                a. Tim e and LaborRequired,Preclusion from OtherEm ploym entand Tim e
                   Lim its Im posed

        The work required ofClass Counselwas extensive. These effods required work
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  representing Plaintiffand the Settlem entClass w ithoutcom pensation. The substantial

  work necessitated by this case diveded Class Counselfrom putting tim e and resources

  into otherm atters.

               b. Case Involved DifficultIssues;Risk ofNonpaym entand NotPrevailing
                  on the Claim s + as High
        This case involved difficultsubstantive issues,w hich presented a significantrisk

  ofnon-payment,including contested issues concerning consentand contested autom atic

  telephone dialing system issues in a setting ofdeveloping case Iaw and FCC rulings and

  recovery being dependenton a successfuloutcom e,w hich was uncedain.

               c. Class CounselAchieved an ExcellentResultforthe Settlem entClass

        Class Counsel achieved excellent monetary results for the Settlem ent Class

  Members.Here,the Settlementrequired MRA to makeavailable upto$1,236,300forthe
  Settlem entClass and willproduce a perperson cash benefitthatis wellw ithin the range

  ofrecoveries established by othercoud approved TCPA class action settlements. See

  e.g.Spillm an v.RPM Pizza,LLC,Case No.3:10-cv-00349.

               d. The Requested Fee is Consistent with Custom ary Fees Awarded in
                  Sim ilar Cases

        M any sim ilar TCPA class settlements provide for one third of the fund. See

  Guarisma v.ADCAHB MedicalCoverages,Inc.,etaI.,1:13-cv-21016,Doc.95 (S.D.Fla.
  June 24,2015)(awarding one-third plus costs). Common fund attorney fee awards of
  one-third are l
                dconsistentw ith the trend in this Circuit.'' Reyes,etaI. B.A T&T M obility

  Services,LLC,No.1O-2O837-CIV,(DE 196J,at6. This outcome was made possible by
  Class Counsel's extensive experience in Iitigating class actions ofsim ilarsize,scope,and

  com plexity to the instantaction. Class Counselregularly engage in com plex litigation

  involving consum er issues,aIIhave been class counselin num erous consum er class
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  action cases.

               e. This Case Required a High LevelofSkill

         Class Counselachieved a settlem entthatconfers substantialm onetary benefi
                                                                                  ts to

  the Settlement Class despi
                           te hard fought Iitigation against a sophisticated defendant

  represented by top-tiercounsel.See In re Sunbeam Sec.Litig.,176 F.Supp.2d at1323,

  1334 (S.D.Fla.2001).
         13. The Coud awards an lncentive Paymentinthe amountof$7,500 to Plaintiff
  Desiree M arengo payable pursuantto the term s ofthe Settlem entAgreem ent.

  VII.   RELEASE O F CLAIMS

               Upon entry ofthis FinalApprovalO rder,aIIm em bers ofthe Class who did

  not validly and timely subm it Requests for Exclusion in the manner provided in the

  Agreem entshall,by operation ofthis FinalApprovalOrderand Judgm ent,have fully,

  finally and foreverreleased,relinquished and discharged M RA and the Released Padies

  from the Released Claim s as setfodh in the Settlem entAgreem ent.

               Fudherm ore,aIISettlem entClass M em bers who did notvalidly and tim ely

  subm it Requests forExclusion in the m anner provided in the Agreem ent are hereby

  permanentl
           y barred and enjoined from filing,commencing,prosecuting,maintaining,
  intervening in,padicipating in,conducting orcontinuing,either directly orin any other

  capacity,eitherindividuall
                           y oras a class,any action orproceeding in any coud,agency,

  arbitration, tribunal or jurisdiction, asseding any claims released pursuant to the
  Settlem entAgreem ent,orseeking an award offees and costs of any kind or nature

  whatsoeverand pursuantto any authority ortheorywhatsoever,relating to orarising from

  theAction orthatcould have been broughtin the Action and/oras a resultoforin addition

  to those provided by the Settlem entAgreement.

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         16. The term s ofthe SettlementAgreem entand ofthis FinalApprovalO rder,

  including allExhibitsthereto,shallbe foreverbinding on,and shallhave resjudicata and
  preclusi
         ve effectin,allpending andfuture Iawsuits m aintained by the Plaintiffand allother

  Settlem ent Class Mem bers, as well as their heirs, executors and adm inistrators,

  successors,and assigns.

         17.    The Rel
                      eases,which are setfodh in Section V ofthe Settlem entAgreement

  and which are also setforth below ,are expressly incorporated herein in aIIrespects and

  are effective as ofthe date ofthis FinalOrderand Judgm ent'
                                                            , and the Released Padies

  (as thatterm is defined below and in the SettlementAgreement)are foreverreleased,
  relinquished,and discharged by the Releasing Persons (as thatterm is defined below
  and in the SettlementAgreement)from aIIReleased Claims (as thatterm is defined
  below and inthe SettlementAgreement).
                (a)   The SettlementAgreementand Releases do notaffectthe rights of
  Settlem entClass M em bers who tim ely and properly subm ita RequestforExclusion from

  the Settlementin accordance with the requirements in Section III(D)ofthe Settlement
  Agreem ent.

                (b)   The administration and consummation of the Settlement as
  em bodied in the Settlem entAgreem entshallbe underthe authority ofthe Coud. The

  Court shall retain jurisdiction to protect, preserve, and implement the Settlement
  Agreement, including, but not Iim ited to,enforcem ent of the Releases. The Coud

  expresslyretainsjurisdiction in orderto entersuch fudherordersasmaybe necessaryor
  appropriate in adm inistering and im plementing the term sand provisions ofthe Settlem ent

  Agreement.
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                (c)   The SettlementAgreementshallbe theexclusive remedyforanyand
   aIISettlem ent Class M em bers,except those w ho have properly requested exclusion

   (opted-out),and the Released Padies shallnotbe subjectto Iiability orexpense forany
   ofthe Released Claimsto any SettlementClassMemberts).
                (d)   The Releases shallnotpreclude any action to enforce the terms of
  the SettlementAgreem ent,including padicipation in any ofthe processes detailed therein.

  The Releases setfodh herein and in the Settlem ent Agreem ent are not intended to

   include the release of any rights or dutiès of the Settling Padies arising out of the
   Settlem ent Agreem ent, including the express warranties and covenants contained

  therein.

         18.    Plaintiff and aIISettlem ent Class Mem bers w ho did not tim ely exclude

  them selves from the SettlementClass are,from this day forward,hereby perm anently

  barred and enjoined from directly orindirectly: (i)asseding any Released Claimsin any
  action orproceeding'
                     ,(ii)filing,commencing,prosecuting,intervening in,orpadicipating
  in (asclass mem bersorotherwise),any Iawsuitbased onorrelatingto anythe Released
  Claimsorthe facts and circumstances relating thereto'
                                                      ,or(iii)organizing any Settlement
  Class Mem bers into a separate class forpurposes ofpursuing as a purpoded class action

  any Iawsuit (including by seeking to amend a pending complaint to include class
  allegations,orseeking class cedification in a pending action)based onorrelating to any
  ofthe Released Claim s.

  Vlll. NO ADM ISSIO N OF LIABILITY

         19.   Neitherthe Settlem entAgreem ent,norany ofits term s and provisions,nor

  any ofthe negotiations orproceedings connected with it,norany ofthe docum ents or



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   statem ents referred to therein,northis FinalO rderand Judgm ent, norany of its term s

   and provisions,shallbe:

                (a)    offered by any person orreceived againstMRA orany Released
   Party as evidence of,orconstrued as ordeem ed to be evidence of,any presum ption,

   concession,oradm ission by M RA of the truth of the facts alleged by any person, the

   validity ofany claim thathas been orcould have been asseded in the Litigation orin any

   otherIitigationorjudicialoradministrative proceeding,the deficiencyofanydefense that
   has been orcould have been asseded in the Litigation orin any Iitigation, orofany Iiability,

   negligence,fault,orw rongdoing by M RA orany Released Pady;

                (b)    offered by any person orreceived againstMRA orany Released
  Party as evidence ofa presum ption,concession,oradm ission ofany faultorviolation of

  any Iaw by M RA orany Released Pady;or

                (c)    offered by any person orreceived against MRA orany Released
  Partyas evidence ofa presum ption,concession,oradm ission w ith respectto any liabili
                                                                                      ty,

  negligence, fault, or w rongdoing in any civil, crim inal, or adm inistrative action or

  proceeding.

  IX.    O THER PROVISIO NS

         20. This FinalOrderand Judgmentand the SettlementAgreement(including
  the Exhibits thereto)may be filed in any action againstorby any Released Party (as
  thatterm is defined herein and the SettlementAgreement)to supporta defense ofres
  judicata,collateralestoppel,release,good faith settlement,judgmentbarorreduction,
  oranytheory ofclaim preclusion orissue preclusion orsim ilardefense orcounterclaim .
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          21.   W ithout further order of the Coud, the Settling Padies m ay agree to

   reasonably necessary extensions of tim e to carry out any of the provisions of the

   Settlem entAgreem ent.

          22.   In the eventthatthe Effective Date does not occur, this Fina!Orderand

   Judgm entshallautom atically be rendered nulland void and shallbe vacated and, in such

   event,a1Iorders entered and releases delivered in connection herewith shallbe nulland

  void. In the eventthatthe Elective Date does notoccur, the SettlementAgreementshall

   becom e nulland void and be of no fudher force and effect, neither the Settlem ent

  Agreementnorthe Courfs Orders,including this O rder,shallbe used orreferred to for

  any purpose whatsoever,and the Padies shallretain,without prejudice,any and all
  objections,arguments,and defenseswith respectto classcedification,including the right
  to argue thatno class should be cedified forany purpose,and with respectto any claim s

  orallegations in this Litigation.

          23.   This Litigation,including allindividualclaim s and class claim s presented

  herein,is DISMISSED on the merits and with prejudice against Plaintiffand al1other
  Settlem ent Class M em bers,without fees or costs to any pady except as otherwise

  provided herein.

          The Clerk is directed to CLOSE this case.

          DONE and ORDERED in Cham bers atM iam i,Florida,this           day ofJuly,
  2018.




                                          KATHLEE M .W ILLIAM S
                                          UNITED ATES DISTRICT JUDG E


  Copies furnished to:CounselofRecord
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